                       DECISION AND JUDGMENT ENTRY
{¶ 1} Relator, Lonny Lee Bristow, filed a petition for writ of prohibition on December 29, 2004. In June 1998, however, the Crawford County Court of Common Pleas found Bristow to be a vexatious litigator.Mayer v. Bristow, Crawford County C.P. No. 98CV0082. Bristow has not sought leave to file the instant action as required by R.C. 2323.52(D)(3). Accordingly, his petition is dismissed. See R.C. 2323.52(I). Court costs of this action are assessed to relator.
Writ Dismissed.
Knepper, J., Pietrykowski, J., and Singer, J. Concur.